                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                              AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                       Case No.

 TWENTY-SEVEN ASSORTED FIREARMS,

 APPROXIMATELY FORTY-SIX ASSORTED
 LOADED MAGAZINES,

 FOUR SILENCERS, and

 APPROXIMATELY 13,146 ROUNDS OF
 ASSORTED AMMUNITION,

                        Defendants.


               VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Richard G. Frohling, Acting United States

Attorney for the Eastern District of Wisconsin, and Bridget J. Schoenborn, Assistant United

States Attorney for this district, alleges the following in accordance with Supplemental

Rule G(2) of the Federal Rules of Civil Procedure:

                                       Nature of the Action

       1.      This is a civil action to forfeit properties to the United States of America, under

18 U.S.C. § 924(d), for violations of 18 U.S.C. § 922(g)(1).

                                      The Defendants In Rem

       2.      The defendant twenty-seven assorted firearms and the defendant approximately

forty-six assorted loaded magazines are more fully described in Exhibit A attached to this

complaint.


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       3.      The defendant properties – twenty-seven assorted firearms, approximately forty-

six assorted loaded magazines, four silencers, and approximately 13,146 rounds of assorted

ammunition – are hereinafter collectively referred to as the “Defendant Properties.”

       4.      U.S. Immigration and Customs Enforcement, Homeland Security Investigations

seized the Defendant Properties on or about June 16, 2021, from Trevor Sand at 11XXX Wedge

Drive, Two Rivers, Wisconsin.

       5.      The Defendant Properties are presently in the custody of U.S. Customs and

Border Protection in Milwaukee, Wisconsin.

                                      Jurisdiction and Venue

       6.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

       7.      This Court has in rem jurisdiction over the Defendant Properties under 28 U.S.C.

§ 1355(b).

       8.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1) because acts or

omissions giving rise to the forfeiture occurred in this district.

                                        Basis for Forfeiture

       9.      Under 18 U.S.C. § 922(g)(1), it is unlawful for any person who has been

convicted in any court of a crime punishable by imprisonment for a term exceeding one year –

that is, any felony conviction – to possess any firearm or ammunition.

       10.     18 U.S.C. § 924(d)(1) provides that any firearm or ammunition “involved in or

used in any knowing violation of” subsection (g)(1) shall be subject to seizure and forfeiture.




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       11.     The defendant twenty-seven assorted firearms are subject to forfeiture to the

United States of America under 18 U.S.C. § 924(d) because they were involved in the violation

of 18 U.S.C. § 922(g)(1).

       12.     The defendant approximately forty-six assorted loaded magazines are subject to

forfeiture to the United States of America under 18 U.S.C. § 924(d) because they were involved

in the violation of 18 U.S.C. § 922(g)(1).

       13.     The defendant four silencers are subject to forfeiture to the United States of

America under 18 U.S.C. § 924(d) because they were involved in the violation of 18 U.S.C.

§ 922(g)(1).

       14.     The defendant approximately 13,146 rounds of assorted ammunition are subject

to forfeiture to the United States of America under 18 U.S.C. § 924(d) because they were

involved in the violation of 18 U.S.C. § 922(g)(1).

                                              Facts

       15.     Tetrahydrocannabinol (“THC”) is a Schedule I controlled substance under

21 U.S.C. § 812.

       16.     On or about October 12, 2007, Trevor Sand pled guilty to a felony count of

operating a motor vehicle while under the influence (fifth offense) in Manitowoc County Case

No. 06CF241.

       17.     On or about April 21, 2015, Trevor Sand was found guilty by jury trial of a felony

count of manufacture/deliver THC, party to a crime, in Manitowoc County Case No. 13CF483.

       18.     Since on or about October 12, 2007, Trevor Sand has been, and remains, a

convicted felon.

       19.     As a convicted felon, Trevor Sand is prohibited from possessing firearms or

ammunition.
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June 16, 2021 execution of search warrant at Trevor Sand’s residence

       20.     On June 16, 2021, agents executed a federal search warrant at the residence of

Trevor Sand located at 11XXX Wedge Drive, Two Rivers, Wisconsin (the “Residence”).

       21.     Trevor Sand, his adult daughter, and his parents live at the Residence.

       22.     Trevor Sand and his daughter reside in the southern portion of the Residence.

       23.     Trevor Sand’s parents reside in the northern portion of the Residence.

       24.     On June 16, 2021, the following items, among other things, were inside Trevor

Sand’s southern portion of the Residence:

               A.      Inside Trevor Sand’s first-floor bedroom was an open gun safe.

               B.      The Defendant Properties were located inside and outside the open gun
                       safe in Trevor Sand’s bedroom, as well as in other areas in Trevor Sand’s
                       portion of the Residence.

               C.      Invoices dated December 8, 2020, for a mechanical bite trigger 1 and
                       mounting plate from Be Adaptive Equipment, LLC were addressed to
                       Trevor Sand.

               D.      A total of approximately 300 grams of THC products was located
                       throughout the kitchen area.

June 16, 2021 statement of Trevor Sand’s father, J.S.

       25.     On June 16, 2021, during execution of the search warrant at the Residence, agents

interviewed Trevor Sand’s father, J.S.

       26.     J.S. stated the following:

               A.      J.S. owned firearms.

               B.      J.S.’s firearms were all stored on J.S.’s side of the Residence (the northern
                       portion), except for two of J.S.’s firearms. J.S. kept one firearm inside a
                       vehicle and one firearm inside the barn.




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 The user’s manual for this device explained that when mounted to a firearm, biting down on the
mouthpiece will control the trigger of the firearm and cause it to fire.
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       27.     Agents did not seize firearms stored on J.S.’s side of the Residence (the northern

portion), or J.S.’s two firearms from inside the vehicle and barn.

June 16, 2021 statement of Trevor Sand’s daughter, E.S.

       28.     On June 16, 2021, during execution of the search warrant at the Residence, agents

interviewed Trevor Sand’s daughter, E.S.

       29.     E.S. stated the following:

               A.      E.S.’s bedroom was on the second floor, south side of the Residence.

               B.      E.S. did not own any firearms.

               C.      E.S. did not like to shoot firearms.

       30.     Trevor Sand violated 18 U.S.C. § 922(g)(1) by unlawfully possessing the

Defendant Properties at a time in which he was a convicted felon.

                            Administrative Forfeiture Proceedings

       31.     On or about June 28, 2021, U.S. Customs and Border Protection (“CBP”)

commenced administrative forfeiture proceedings against the Defendant Properties.

       32.      On or about July 26, 2021, Trevor Sand filed a claim and petition for remission to

the Defendant Properties with CBP in the administrative forfeiture proceedings.

                                   Warrant for Arrest In Rem

       33.     Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the Defendant Properties pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                        Claims for Relief

       34.     The plaintiff alleges and incorporates by reference the paragraphs above.

       35.     By the foregoing and other acts, the defendant twenty-seven assorted firearms

were involved in the violation of 18 U.S.C. § 922(g)(1).
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          36.    The defendant twenty-seven assorted firearms are therefore subject to forfeiture to

the United States of America under 18 U.S.C. § 924(d).

          37.    By the foregoing and other acts, the defendant approximately forty-six assorted

magazines loaded with ammunition were involved in the violation of 18 U.S.C. § 922(g)(1).

          38.    The defendant approximately forty-six assorted magazines loaded with

ammunition are therefore subject to forfeiture to the United States of America under 18 U.S.C.

§ 924(d).

          39.    By the foregoing and other acts, the defendant four silencers were involved in the

violation of 18 U.S.C. § 922(g)(1).

          40.    The defendant four silencers are therefore subject to forfeiture to the United States

of America under 18 U.S.C. § 924(d).

          41.    By the foregoing and other acts, the defendant approximately 13,146 rounds of

assorted ammunition were involved in the violation of 18 U.S.C. § 922(g)(1).

          42.    The defendant approximately 13,146 rounds of assorted ammunition are therefore

subject to forfeiture to the United States of America under 18 U.S.C. § 924(d).

          WHEREFORE, the United States of America prays that a warrant of arrest for the

Defendant Properties be issued; that due notice be given to all interested parties to appear and

show cause why the forfeiture should not be decreed; that judgment declare the Defendant

Properties to be condemned and forfeited to the United States of America for disposition

according to law; and that the United States of America be granted such other and further relief

as this Court may deem just and equitable, together with the costs and disbursements of this

action.




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Dated at Milwaukee, Wisconsin, this 22nd day of October, 2021.

                                           Respectfully submitted,

                                           RICHARD G. FROHLING
                                           Acting United States Attorney

                                    By:    s/BRIDGET J. SCHOENBORN
                                           BRIDGET J. SCHOENBORN
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                                           Verification

       I, John M. Cerf, hereby verify and declare under penalty of perjury that I am a Special

Agent with the U.S. Department of Homeland Security, Immigration and Customs Enforcement,

Homeland Security Investigations (“HSI”) in Milwaukee, Wisconsin, that I have read the

foregoing Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and that

the factual matters contained in paragraphs 15 through 30 of the Verified Complaint are true to

my own knowledge.

       The sources of my knowledge and information are the official files and records of the

United States, information supplied to me by other law enforcement officers, as well as my

investigation of this case, together with others, as a Special Agent with HSI.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: October 22, 2021                         s/JOHN M. CERF
                                              John M. Cerf
                                              Special Agent, Homeland Security Investigations




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